Case 1:21-cr-00729-RBW Document 64 Filed 11/18/22 Page1of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
V. Criminal Action No. 21-729 (RBW)
BRENT JOHN HOLDRIDGE,
Defendant.
)
ORDER

Upon consideration of the Defendant’s Corrected Motion for Payment of Travel
Expenses Pursuant to 18 U.S.C. § 4285, ECF No. 62, and for good cause shown, it is hereby

ORDERED that the Defendant’s Corrected Motion for Payment of Travel Expenses
Pursuant to 18 U.S.C. § 4285, ECF No. 62, is GRANTED. It is further

ORDERED that the U.S. Marshals Service is directed to arrange for noncustodial
transportation of the defendant, Brent John Holdridge, from Arcata, California, to Washington,
D.C., for sentencing on December 2, 2022, at 9:00 a.m. and to furnish the defendant with an
amount of money for subsistence expenses such as overnight housing, not to exceed the amount

authorized as a per diem allowance for travel under 5 U.S.C. § 5702(a).

+ JH
V REGGIE B. WALTON
United States District Judge

SO ORDERED this 18th day of November, 20272.

  

 
